O AO 121 (6/90)
TO:

                  Register of Copyrights                                                           REPORT ON THE
                  Copyright Office                                                         FILING OR DETERMINATION OF AN
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                  Washington, D.C. 20559                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                     COURT NAME AND LOCATION
        G
        ✔ ACTION           G APPEAL                                   United States District Court for the Eastern District of North
DOCKET NO.                      DATE FILED                            Carolina
      5:17-CV-511-FL                      10/10/2017
PLAINTIFF                                                                         DEFENDANT
Epic Games, Inc., et al                                                           B        B




       COPYRIGHT
                                                            TITLE OF WORK                                               AUTHOR OR WORK
    REGISTRATION NO.

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                   INCLUDED BY
                                         G Amendment                 G Answer               G Cross Bill            G Other Pleading
       COPYRIGHT
                                                            TITLE OF WORK                                               AUTHOR OF WORK
    REGISTRATION NO.

1                                SEE ATTACHED COPY OF COMPLAINT

2

3                                                                     .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                WRITTEN OPINION ATTACHED                                      DATE RENDERED

            G Order        G Judgment                                     G Yes        G No

CLERK                                                        (BY) DEPUTY CLERK                                             DATE

PETER A. MOORE, JR.                                                                                                                 10/11/2017
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                      Case 5:17-cv-00511-FL Document 32 Filed 07/27/18 Page 1 of 1
